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In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

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PAUL and JENNIFER SOLTERO, as          *
Parents and Natural Guardians of their *
son, A.O.S.,                           *
                                       *                    No. 12-558V
                     Petitioners,      *                    Special Master Christian J. Moran
                                       *
v.                                     *
                                       *
SECRETARY OF HEALTH                    *                    Filed: January 17, 2014
AND HUMAN SERVICES,                    *
                                       *
                     Respondent.       *
*************************

Anne C. Toale, Maglio Christopher & Toale, Sarasota, FL, for petitioners.
Melonie J. McCall, United States Dep’t of Justice, Washington, D.C., for respondent.

            UNPUBLISHED DECISION DENYING COMPENSATION1

        Paul and Jennifer Soltero filed a petition under the National Childhood Vaccine
Injury Act, 42 U.S.C. §300aa—10 et seq., on August 31, 2012. Their petition alleged
that their minor child, A.O.S., suffered an adverse reaction, and subsequently died, as a
result of the pneumococcal vaccine A.O.S. received on August 2, 2011. The information
in the record, however, does not show entitlement to an award under the Program.

           I.   Procedural History

        On August 31, 2012, Mr. and Mrs. Soltero, on behalf of their minor child, A.O.S.,
filed a petition alleging that A.O.S.’s death was caused in fact by a pneumococcal
vaccine she received on August 2, 2011. No medical records were filed with the petition
as required by 42 U.S.C. § 300aa—11(c).



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          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa—12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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       On August 16, 2013, respondent filed a Rule 4(c) report in which she concluded
that Mr. and Mrs. Soltero failed to fulfill the criteria for a Vaccine Table injury and failed
to demonstrate by a preponderance of the evidence that A.O.S.’s death was caused-in-fact
by the pneumococcal vaccine A.O.S. received on August 2, 2011. Respondent’s Report
at 13. Respondent noted that Mr. and Mrs. Soltero failed to put forth a medical theory of
causation and failed to file medical literature or an expert medical opinion explaining
how the pneumococcal vaccine could have caused A.O.S.’s death. Id. at 12.

       On October 9, 2013, Mr. and Mrs. Soltero were ordered to file an expert report by
January 7, 2014. On January 7, 2014, petitioners’ counsel filed a motion for an extension
of time to file an expert report, noting that she had lost contact with Mr. and Mrs. Soltero
and thus had not had the opportunity to discuss with them the expert’s findings. A status
conference was then scheduled for January 16, 2014.

       On January 16, 2014, Mr. and Mrs. Soltero moved for a decision dismissing their
petition. They noted that “[a]n investigation of the facts and science supporting their case
has demonstrated . . . that they will be unable to prove that they are entitled to
compensation.” Mot. for a Decision Dismissing Petition at ¶ 1.

        II.   Analysis

        To receive compensation under the National Vaccine Injury Compensation
Program, petitioners must prove either 1) that the vaccinee suffered a “Table Injury” –
i.e., an injury falling within the Vaccine Injury Table – corresponding to one of the
vaccinee’s vaccinations, or 2) that the vaccinee suffered an injury that was actually
caused by a vaccine. See §§ 300aa—13(a)(1)(A) and 300aa—11(c)(1). An examination
of the record did not uncover any evidence that A.O.S. suffered a “Table Injury.”
Further, the record does not contain a medical expert’s opinion or any other persuasive
evidence indicating that A.O.S.’s death was vaccine-caused.

       Under the Act, petitioners may not be given a Program award based solely on the
petitioners’ claims alone. Rather, the petition must be supported by either medical
records or by the opinion of a competent physician. § 300aa—13(a)(1). In this case,
because the medical records do not support Mr. and Mrs. Soltero’s claim, a medical
opinion must be offered in support. Mr. and Mrs. Soltero, however, have offered no such
opinion. Accordingly, it is clear from the record in this case that they have failed to
demonstrate either that A.O.S. suffered a “Table Injury” or that A.O.S.’s injuries were
“actually caused” by a vaccination.

     Thus, this case is dismissed for insufficient proof. The Clerk shall enter
judgment accordingly.



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        Any questions may be directed to my law clerk, Tucker McCarthy, at (202) 357-
6392.


        IT IS SO ORDERED.


                                               s/Christian J. Moran
                                               Christian J. Moran
                                               Special Master




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